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  6                         UNITED STATES DISTRICT COURT
  7                       CENTRAL DISTRICT OF CALIFORNIA
  8
      ~ iJr1ITED STATES OF AMERICA,
  9

 10                                  Plaintiff,        CASE NO.
 11                        ~.                                             21-MJ-05349
      CHRISTOPHER JOSEPH ANTOUN
 12                                                     ORDER OF DETENTION
 13

 14                                  Defendant. )
 15

 16                                                     I.

 17       A.()       On motion of the Government in a case allegedly involving:
 18            1.()     a crime of violence.
 19           2.()      an offense with maximum sentence of life imprisonment or death.
 20           3.()      a narcotics or controlled substance offense with maximum sentence
 21                     often or more years .
 22           4.()      any felony -where the defendant has been convicted of two or more
 23                     prior offenses described above.
 24           5.()      any felony that is not otherwise a crime of violence that involves a
 25                     minor victim, or possession or use of a firearm or destructive device
 26                     or any other dangerous weapon, or a failure to register under 18
 27                     U.S.0 § 2250.
 28       B.(~       On motion by the Government /( )on Court's own motion, in a case

                                ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1                      allegedly involving:
  2           (~         On the further allegation by the Government of:
  3             1. (~       a serious risk that the defendant will flee.
  4            2.()         a serious risk that the defendant will:
  5                   a.()obstruct or attempt to obstruct justice.
  6                   b.()threaten, injure, or intimidate a prospective witness or juror or
  7                         attempt to do so.
  8       C. The Government()is/(~ is not entitled to a rebuttable presumption that no
  9            condition or combination ofconditions will reasonably assure the defendant's
 10            appearance as required and the safety of any person or the community.
 11

 12                                                      II.

 13        A.(~          The Court finds that no condition or combination of conditions will
 14                      reasonably assure:
 15             1. (~       the appearance ofthe defendant as required.
 16               (~        and/or
 17            2. (~        the safety of any person or the community.
 18       B.() The Court finds that the defendant has not rebutted by sufficient
 19                      evidence to the contrary the presumption provided by statute.
 20

 21                                                     III.
 22       The Court has considered:
 23       A. the nature and circumstances ofthe offenses) charged, including whether the
 24            offense is a crime ofviolence, a Federal crime ofterrorism, or involves a minor
 25            victim or a controlled substance, firearm, explosive, or destructive device;
 26       B. the weight of evidence against the defendant;
 27       C. the history and characteristics ofthe defendant; and
 28       D. the nature and seriousness ofthe danger to any person or to the community.

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  1                                                     IV.
  2       The Court also has considered all the evidence adduced at the hearing and the
  3       arguments        and/or statements          of counsel, and            the     Pretrial   Services
  4       Report/recommendation.
  5

  6                                                      V.
  7       The Court bases the foregoing findings) on the following:
  8       A.(~          As to flight risk:
  9        all the reasons stated in the November 22, 2021 Pretrial Services Report, which include that
           defendant has a documented history of failing to appear, including a conviction for failing
 10
           to appear to a criminal misdemeanor offense; defendant has unknown assets and no
 11        apparent employment income; defendant's history of drug use; and defendant has not
           proposed any verified bail resources or sureties.
 12

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 16       B.(~          As to danger:
 17       all the reasons stated in the November 22, 2021 Pretrial Services Report, which include the
          concerning nature of the alleged threats to bomb SBA locations and bash in the skulls of
 18
          SBA employees with a baseball bat; defendant's defendant's history of drug use; and
 19       defendant's possible unresolved anger or mental health issues. In addition, as stated at the
          hearing, during the post-arrest Mirandized interview, defendant stated that he threatened to
 20
          "kill," "blow up," "run over with [his] car," and individually murder SBA employees.
 21

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 24                                                     VI.
 25       A.()          The Court finds that a serious risk exists that the defendant will:
 26                  1.()obstruct or attempt to obstruct justice.
 27                  2.()attempt to/( )threaten, injure or intimidate a witness or juror.
 28

                                 ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1        B. The Court bases the foregoing findings) on the following:
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  9                                                  VII.
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 11        A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
 12        B. IT IS FURTHER ORDERED that the defendant be committed to the custody
 13            ofthe Attorney General for confinement in a corrections facility separate, to
 14            the extent practicable, from persons awaiting or serving sentences or being
 15            held in custody pending appeal.
 16        C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
 17            opportunity for private consultation with counsel.
 18       D. IT IS FURTHER ORDERED that, on order of a Court of the United States
 19            or on request of any attorney for the Government, the person in charge of the
 20            corrections facility in which the defendant is confined deliver the defendant
 21            to a United States marshal for the purpose of an appearance in connection
 22            with a court proceeding.
 23

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                                                                       ~•             ~~
 26   DATED: November 22, 2021
                                                   UNITED STATES MAGISTRATE JUDGE
 27

 28

                              ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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